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 6
     Attorneys for Plaintiff Brenda Barros
 7

 8                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10
                                                         )   CASE NO. 3:20-cv-07358-MMC
11                                                       )
     BRENDA BARROS,                                      )
12                                                       )
     Plaintiff,                                          )   NOTICE OF MOTION AND MOTION BY
13                                                       )   PLAINTIFF BRENDA BARROS FOR
                                                         )   LEAVE TO FILE A NOTICE OF
14                                                       )   VOLUNTARY DISMISSAL;
                                                         )   MEMORANDUM OF POINTS &
15   vs.                                                 )   AUTHORITIES; DECLARATION OF
                                                         )   STEVEN L. ROBINSON & PROPOSED
16                                                       )   ORDER
     CITY AND COUNTY OF SAN                              )
17   FRANCISCO,                                          )
                                                         )
18                                                       )   Judge: The Honorable Maxine M. Chesney
                                                         )   Dept: Courtroom 7 - 9th Floor
19           Defendant.                                  )   Date: June 18, 2021
                                                         )   Time: 9:00 a.m.
20                                                       )   ____________________________

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     To: Defendant City and County of San Francisco and your attorney of record:
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             PLEASE TAKE NOTICE that on June 18, 2021, at 9:00 a.m. Plaintiff Brenda
23
     Barros will appear in Courtroom 7 before The Honorable Maxine M. Chesney for the
24
     purpose of seeking leave of the Court to file a Notice of Voluntary Dismissal.
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             The motion shall be made pursuant to the provisions of Rule 41 of the Federal
26
     Rule of Civil Procedure. Plaintiff Brenda Barros will seek leave to file a notice of
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     dismissal pursuant to subsection (a)(1) of Rule 41 or, in the alternative, pursuant to
28
     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Notice for Motion for Leave to File Voluntary Dismissal
      Case 3:20-cv-07358-MMC Document 45 Filed 05/11/21 Page 2 of 2



 1   subsection (a)(2) of Rule 41, the Plaintiff will ask the Court to order the action

 2   dismissed without prejudice.

 3           The motion will be based on these moving papers, the supporting

 4   memorandum of points and authorities, the accompanying declaration and such oral

 5   argument as shall be held at the time and place of the hearing.

 6   Date: May 11, 2021                                Respectfully Submitted,

 7                                                     THE LAW OFFICES OF JOSEPH
                                                       L. ALIOTO & ANGELA ALIOTO
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 9                                                    /s/ Steven L. Robinson

10                                                     By: Steven L. Robinson
                                                       Attorneys for Plaintiff
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     Barros v. City & County of San Francisco, Case No, 3:20-cv-07358-MMC
     Notice for Motion for Leave to File Voluntary Dismissal                              -2-
